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             Case 1:19-cr-00349-ELH Document 1 Filed 07/22/19 Page  1 of 1 __                         ENTERED
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                                                                                    JUL 22 2019
JTM. USAO#2019R0050J                                                                   AT BALTIMORE
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                  DISTRICT OF MARYLAND

                            IN TilE UNITED STATES DISTRICT COUR1Y                                            DE"""
                                FOR TIlE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                          *
                                                   *       CRIMINAL      NO. ELH-19--ill            t/ 9
          v.                                       *
                                                   *       (Escape, 18 U.S.c. ~ 751(a»
 MARK DARNELL PEEPLES,                             *
                                                   *
                          Defendant                *
                                                   *
                                               *******
                                          INFORMA nON

         The United States for the District of Maryland charges that:

         On or about August 22. 2018. in the District of Maryland. the defendant,

                                       DORIAN GRIFFIN,

did knowingly escape from custody at the Volunteers of America in Baltimore. Maryland. a

residential re-entry program. an institutional facility in which he was lawfully confined at the

direction of the Attorney General by virtue of a judgment and commitment of the United States

District Court for the District of Maryland (Northern Division) upon convictions for the

commission of Conspiracy to Commit Bank Fraud. in violation of Title 18 United States Code.

Section 1349. and Aggravated Identity Then. in violation of Title 18 United States Code. Section

1028A.

\ 8 U.S.C.   S 75 I (a)


 7-11-/9
Date
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                                               ROBERT K. BUR
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                                               UNITED STATES ATTORNEY
